Case 10-93904-BHL-11 Doc 410-1 Filed 03/28/11 EOD 03/28/11 12:22:40 Pgi1of3

EXHIBIT A
‘Ad GBLNASSYdsy
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MAAN - MATISS

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